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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              )
DONALD J. TRUMP,                              )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       Civil Action No. 21-cv-2769 (TSC)
                                              )
                                              )
BENNIE G. THOMPSON, in his official           )
capacity as Chairman of the United States     )
House Select Committee to Investigate the     )
January 6th Attack on the United States       )
Capitol, et al.,                              )
                                              )
               Defendants.                    )
                                              )

                                 MEMORANDUM OPINION

        On January 6, 2021, hundreds of rioters converged on the U.S. Capitol. They scaled

walls, demolished barricades, and smashed windows in a violent attempt to gain control of the

building and stop the certification of the 2020 presidential election results. This unprecedented

attempt to prevent the lawful transfer of power from one administration to the next caused

property damage, injuries, and death, and for the first time since the election of 1860, the transfer

of executive power was distinctly not peaceful.

        The question of how that day’s events came about and who was responsible for them is

not before the court. Instead, the present dispute involves purely legal questions that, though

difficult and important to our government’s functioning, are comparatively narrow in scope.

Plaintiff—former President Donald J. Trump—challenges the legality of a U.S. House of

Representatives Select Committee’s requests for certain records maintained by the National


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Archives and Records Administration (“NARA”) pursuant to the Presidential Records Act.

Plaintiff argues that the Committee’s requests are impermissible because at least some of the

records sought are shielded by executive privilege and because the requests exceed Congress’

constitutional power. He seeks an injunction prohibiting Defendants—the House Select

Committee, the Chairman of the House Select Committee, NARA, and the Archivist of NARA—

from enforcing or complying with the Committee’s requests. For the reasons explained below,

the court will deny Plaintiff’s requested relief.

                                        I.    BACKGROUND

   A. The 2020 Presidential Election and January 6, 2021

       While not material to the outcome, some factual background on the events leading up to

and including January 6, 2021, offers context for the legal dispute here. In the months preceding

the 2020 presidential election, Plaintiff declared that the only way he could lose would be if the

election were “rigged.” See, e.g., Donald J. Trump, Speech at Republican National Convention

Nomination Vote at 22:08 (Aug. 24, 2020) in C-SPAN, https://www.c-span.org/video/?475000-

103/president-trump-speaks-2020-republican-national-convention-vote. In the months after

losing the election, he repeatedly claimed that the election was rigged, stolen, and fraudulent.

For example, in a December 2 speech, he alleged “tremendous voter fraud and irregularities”

resulting from a late-night “massive dump” of votes. See President Donald J. Trump, Statement

on 2020 Election Results at 0:39, 7:26 (Dec. 2, 2020) in C-SPAN, https://www.c-

span.org/video/?506975-1/president-trump-statement-2020-election-results. He also claimed

that certain votes were “counted in foreign countries,” that “millions of votes were cast illegally




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in the swing states alone,” and that it was “statistically impossible” he lost. Id. at 12:00, 14:22,

19:00.

         After losing the election, Plaintiff and his supporters filed a plethora of unsuccessful

lawsuits seeking to overturn the results. See, e.g., Current Litigation, AMERICAN BAR

ASSOCIATION: STANDING COMMITTEE ON ELECTION LAW, Apr. 30, 2021,

https://www.americanbar.org/groups/public_interest/election_law/litigation/. The United States

Supreme Court also denied numerous emergency applications aimed at overturning the results.

Id. In response, Plaintiff tweeted that the Court was “totally incompetent and weak on the

massive Election Fraud that took place in the 2020 Presidential Election.” Donald J. Trump

(@realDonaldTrump), TWITTER (Dec. 26, 2020, 1:51 PM), https://www.presidency.ucsb.edu

/documents/tweets-december-26-2020. 1 He continued his claim that “We won the Presidential

Election, by a lot,” and implored Republicans to “FIGHT FOR IT. Don’t let them take it away.”

Id. (Dec. 18, 2020, 2:14 PM), https://www.presidency.ucsb.edu/documents/tweets-december-18-

2020.

         A Joint Session of Congress was scheduled to convene on January 6, 2021, to count the

electoral votes of the 2020 presidential election and to officially announce the elected President,

as required by the Twelfth Amendment to the U.S. Constitution and the Electoral Count Act, 3



1
 Plaintiff was permanently suspended from Twitter on January 8, 2021. See Press Release,
Twitter, Inc., Permanent Suspension of @realDonaldTrump (Jan. 8, 2021), https://blog.
twitter.com/en_us/topics/company/2020/suspension. As a result, Plaintiff’s tweets are
permanently unavailable in their original form. See Quint Forgey, National Archives can’t
resurrect Trump’s tweets, Twitter says, POLITICO (Apr. 7, 2021), https://www.politico.com
/news/2021/04/07/twitter-national-archives-realdonaldtrump-479743. The court has relied on the
University of California, Santa Barbara’s The American Presidency Project for archived tweets.
See John Wolley & Gerhard Peters, THE AMERICAN PRESIDENCY PROJECT,
https://www.presidency.ucsb.edu/.
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U.S.C. § 15. In the days leading up to January 6, Plaintiff began promoting a protest rally to take

place hours before the Joint Session convened. On December 19, 2020, he tweeted “Statistically

impossible to have lost the 2020 Election. Big protest in D.C. on January 6th. Be there, will be

wild!” Donald J. Trump (@realDonaldTrump), TWITTER (December 19, 2020, 6:42am),

https://www.presidency.ucsb.edu/documents/tweets-december-19-2020. During a rally, he

warned that “Democrats are trying to steal the White House . . . you can’t let that happen. You

can’t let it happen,” and promised that “[w]e’re going to fight like hell, I’ll tell you right now.”

See Donald J. Trump, Remarks at Georgia U.S. Senate Campaign Event at 8:40, 14:19 (Jan. 4,

2021) in Campaign 2020, C-SPAN, https://www.c-span.org/video/?507634-1/president-trump-

campaigns-republican-senate-candidates-georgia.

       On January 6, Plaintiff spoke at the rally at the Ellipse, during which he (1) repeated

claims, rejected by numerous courts, that the election was “rigged” and “stolen”; (2) urged then-

Vice President Pence, who was preparing to convene Congress to tally the electoral votes, “to do

the right thing” by rejecting certain states’ electors and declining to certify the election for

President Joseph R. Biden; and (3) told protesters to “walk down to the Capitol” to “give them

the kind of pride and boldness that they need to take back our country,” “we fight. We fight like

hell. And if you don’t fight like hell, you’re not going to have a country anymore,” and “you’ll

never take back our country with weakness.” See Donald J. Trump, Rally on Electoral College

Vote Certification at 3:33:04, 3:33:36, 3:37:20, 3:47:02, 3:47:22, 4:42:26, 4:41:27 (Jan. 6, 2021)

in Campaign 2020, C-SPAN, https://www.c-span.org/video/?507744-1/rally-electoral-college-

vote-certification.




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       Shortly thereafter, the crowds surged from the rally, marched along Constitution Avenue,

and commenced their siege of the Capitol.

   B. The Select Committee and its Presidential Records Act Request

       On June 30, 2021, the U.S. House of Representatives passed House Resolution 503,

creating the Select Committee. ECF No. 5, Pl. Mot., Ex. 3, H.R. 503, § 3, 117th Cong. (2021).

H.R. 503 empowers the Select Committee to (1) “investigate the facts, circumstances, and causes

relating to” the January 6 attack; (2) “identify, review, and evaluate the causes of and the lessons

learned from” the attack; and (3) “issue a final report to the House containing such findings,

conclusions, and recommendations for corrective measures . . . as it may deem necessary.” Id. §

4(a). Such corrective measures may include:

       [C]hanges in law, policy, procedures, rules, or regulations that could be taken—
       (1) to prevent future acts of violence, domestic terrorism, and domestic violent
       extremism, including acts targeted at American democratic institutions; (2) to
       improve the security posture of the United States Capitol Complex while preserving
       accessibility of the Capitol Complex for all Americans; and (3) to strengthen the
       security and resilience of the United States and American democratic institutions
       against violence, domestic terrorism, and domestic violent extremism.

Id. § 4(c). The resolution also authorizes the Select Committee to publish interim reports, which

may include “legislative recommendations as it may deem advisable.” Id. § 4(b).

       The Select Committee is authorized “to require, by subpoena or otherwise, the attendance

and testimony of such witnesses and the production of books, records, correspondence,

memoranda, papers, and documents as it considers necessary.” 47 Rule XI.2(m)(1)(B), Rules of

the U.S. House of Rep., 117th Cong. (2021) (“House Rules”); see also H.R. 503, § 5(c) (unless

otherwise specified, Rule XI applies to the Select Committee). Under House Rule XI:

       Subpoenas for documents or testimony may be issued to any person or entity,
       whether governmental, public, or private, within the United States, including, but

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        not limited to, the President, and the Vice President, whether current or former, in
        a personal or official capacity, as well as the White House, the Office of the
        President, the Executive Office of the President, and any individual currently or
        formerly employed in the White House, Office of the President, or Executive Office
        of the President.

House Rule XI.2(m)(3)(D).

        On August 25, 2021, pursuant to section 2205(2)(C) of the Presidential Records Act

(“PRA”), the Committee issued a document request to NARA seeking several categories of

records from the Executive Office of the President and the Office of the Vice President. Compl.,

Ex. 1. Specifically, the Select Committee sought written communications, calendar entries,

videos, photographs, or other media relating to Plaintiff’s January 6 speech, the January 6 rally

and subsequent march, the violence at the Capitol, and the response within the White House. See

id. at 2-4. The Committee also requested materials from specific time periods relating to any

planning by the White House and others regarding the January 6 electoral count, id. at 4-7;

preparations for rallies leading up to the January 6 violence, id. at 7-8; information Plaintiff

received regarding the election outcome, id. at 9-10; Plaintiff’s public remarks regarding the

election outcome and the validity of the election system more broadly, id.; and for a specified

timeframe surrounding the 2020 election, documents and communications of the Plaintiff and

certain of his advisors relating to the transfer of power and obligation to follow the rule of law,

including with respect to actual or potential changes in personnel at certain executive branch

agencies, and relating to foreign influence in that election, id. at 10-12. These requests are the

subject of this lawsuit.




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      C. Presidential Records in the Nixon Era

          In the wake of its investigation of presidential wrongdoing in the Watergate scandal,

Congress passed two laws relating to presidential records. The first was the Presidential

Recordings and Materials Preservation Act of 1974 (“PRMPA”), enacted after former President

Richard Nixon indicated that he intended to destroy certain tape recordings of his conversations

while in office.

          Four years later, after the Supreme Court’s ruling in Nixon v. Adm’r of Gen. Servs.

(Nixon v. GSA), 433 U.S. 425, 448 (1977), 2 Congress passed the PRA, which changed the legal

ownership of the President’s official records from private to public, and established a new

statutory scheme under which Presidents, and NARA, must manage the records of their

Administrations. In passing the PRA, Congress sought a balance between, on the one hand,

“encourag[ing] the free flow of ideas within the executive branch” by allowing a President to

restrict access to their Presidential records for up to twelve years after their tenure ends, and on

the other hand, permitting Congress to access any records it needs to conduct its business before

the twelve-year clock runs. See, e.g., 95 Cong. Rec. H34895 (daily ed. Oct. 10, 1978) (statement

of Rep. Brademas); see also 95 Cong. Rec. S36845 (daily ed. Oct. 13, 1978) (statement of Sen.

Nelson) (explaining that the legislation was “carefully drawn” to strike a balance between the

confidentiality of the President’s decision-making process and the public interest in preservation

of the records).

          The PRA defines “Presidential records” as records reflecting “the activities, deliberations,

decisions, and policies” of the Presidency. 44 U.S.C. § 2203(a). Under the Act, when a



2
    See discussion infra at § III.A.1.ii.a.
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President leaves office, the Archivist “assume[s] responsibility for the custody, control, and

preservation of, and access to” the Presidential records of the departing administration. Id. §

2203(g)(1). The Archivist must make Presidential records available to the public under the

Freedom of Information Act five years after the President leaves office. Id. § 2204(b)(2), (c)(1);

see also 36 C.F.R. § 1270.38. However, the outgoing President can restrict access to especially

sensitive materials for a period of up to 12 years. 44 U.S.C. § 2204(a); see also 36 C.F.R. §

1270.40(a). One exception is that “Presidential records shall be made available . . . to either

House of Congress, or, to the extent of matter within its jurisdiction, to any committee or

subcommittee thereof if such records contain information that is needed for the conduct of its

business and that is not otherwise available.” 44 U.S.C. § 2205(2)(C).

       The PRA gives the Archivist the power to promulgate regulations to administer the

statute. 44 U.S.C. § 2206. Pursuant to those regulations, the Archivist must promptly notify

both the former President as well as the incumbent President of a request for the former

President’s records. See 36 C.F.R. § 1270.44(c). Either the former or incumbent President “may

assert a claim of constitutionally based privilege” against disclosure within thirty calendar days

after the date of the Archivist’s notice. Id. § 1270.44(d). If a former President asserts the claim,

the Archivist consults with the incumbent President as soon as practicable and within 30 calendar

days from the date that the Archivist receives notice of the claim to determine whether the

incumbent President will uphold the claim. Id. § 1270.44(f)(1). If the incumbent President does

not uphold the former President’s claim, the Archivist must disclose the Presidential records 60

calendar days after receiving notification of the claim unless a federal court order directs the

Archivist to withhold the records. Id. § 1270.44(f)(3); see also Exec. Order No. 13489, § 4(b)


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(providing that the Archivist shall abide by the incumbent President’s determination as to a

privilege assertion by a former President unless otherwise directed by a final court order). The

Archivist may also “adjust any time period or deadline . . . to accommodate records requested.”

36 C.F.R. § 1270.44(g).

    D. Response to Select Committee’s Request

        On August 30, 2021, after receiving the Select Committee’s requests, the Archivist

notified Plaintiff that NARA intended to produce a first tranche of approximately 136 pages of

records responsive to the Committee’s requests. ECF No. 21, NARA Br. at 11.

        On October 8, 2021, White House Counsel notified the Archivist that President Biden

would not be asserting executive privilege over the first tranche of Presidential records because

doing so “is not in the best interests of the United States.” Pl. Mot., Ex. 4 at 1. Counsel further

explained the President’s position:

        Congress has a compelling need in service of its legislative functions to understand
        the circumstances that led to these horrific events. . . . The Documents shed light
        on events within the White House on and about January 6 and bear on the Select
        Committee’s need to understand the facts underlying the most serious attack on the
        operations of the Federal Government since the Civil War. These are unique and
        extraordinary circumstances. . . . The constitutional protections of executive
        privilege should not be used to shield, from Congress or the public, information
        that reflects a clear and apparent effort to subvert the Constitution itself.

Id. at 1-2.

        That same day, Plaintiff notified the Archivist that he was asserting executive privilege

with respect to thirty-nine pages of records in the first tranche, and seven pages of records that

were subsequently withdrawn from the first tranche as non-responsive. NARA Br. at 11.

Plaintiff also made a “protective assertion of constitutionally based privilege with respect to all

additional records following the First Tranche.” Pl. Mot., Ex. 5 at 2.

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       White House Counsel then notified the Archivist that President Biden “does not uphold

the former President’s assertion of privilege.” Pl. Mot., Ex. 6. Counsel further instructed the

Archivist to turn the requested records over to the Committee thirty days after the Archivist

notified Plaintiff, absent an intervening court order, “in light of the urgency of the Select

Committee’s need” for the requested records. Id.

       On October 13, 2021, the Archivist notified Plaintiff that, “[a]fter consultation with

Counsel to the President and the Acting Assistant Attorney General for the Office of Legal

Counsel, and as instructed by President Biden,” the Archivist “determined to disclose to the

Select Committee,” on November 12, 2021, all responsive records that President Trump

determined were subject to executive privilege, absent an intervening court order. Id., Ex. 7. 3

       The review and submission process for additional tranches of records is proceeding on

staggered timelines. Regarding the second and third tranches of records, NARA notified

Plaintiff and President Biden on September 9 and 16 that it was planning to disclose 888 pages

of additional records, three of which NARA later withdrew because they were not Presidential

records. NARA Br. at 11-12. Plaintiff asserted privilege over 724 pages. Id. at 12. President

Biden again responded that he would not uphold the privilege. Id. NARA notified Plaintiff and

President Biden that it would turn over the 724 pages to the Committee on November 26 absent

an intervening court order. Id. On October 15, NARA sent notification of its intent to disclose a

fourth tranche of 551 pages of responsive records. Id. The review period for the fourth tranche




3
  On the same date, the Archivist produced to the Select Committee the ninety pages of records
in the first tranche that were both responsive to the Committee’s requests and not subject to
Plaintiff’s assertions of privilege. NARA Br., Laster Decl. ¶ 20.
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is ongoing, and NARA anticipates that it will identify additional tranches of responsive records

on a rolling basis. Id.

   E. Procedural History

          On October 18, Plaintiff filed this action, seeking a declaratory judgment that the Select

Committee’s requests are invalid and unenforceable, an injunction against the Congressional

Defendants’ enforcement of the requests or use of any information obtained via the requests, and

an injunction preventing the Archivist and NARA’s production of the requested information.

See ECF No. 1, Compl. at 25-26. The following day, Plaintiff moved for a preliminary

injunction “prohibiting Defendants from enforcing or complying with the Committee’s request.”

Pl. Mot. at 3. At the parties’ request, the court set an accelerated briefing schedule and heard

argument on the motion on November 4, 2021. See Min. Order (Oct. 22, 2021).

          On November 8, 2021, Plaintiff filed a preemptive emergency motion requesting an

injunction pending appeal, or an administrative injunction, “should the court refuse” to grant his

requested relief. ECF No. 34, at 1. The court denied Plaintiff’s emergency motion without

prejudice as premature and stated that the court would consider a motion for a stay from the non-

prevailing party following its ruling. See Min. Order (Nov. 9, 2021) (citing Fed. R. Civ. P.

62(d)).

                                     II.    LEGAL STANDARD

          A preliminary injunction is an “extraordinary” remedy that “should be granted only when

the party seeking the relief, by a clear showing, carries the burden of persuasion.” Cobell v.

Norton, 391 F.3d 251, 258 (D.C. Cir. 2004). To prevail on a motion for preliminary injunction,

the movant bears the burden of showing that: (1) “he is likely to succeed on the merits”; (2) “he


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is likely to suffer irreparable harm in the absence of preliminary relief”; (3) “the balance of

equities tips in his favor”; and (4) “an injunction is in the public interest.” Winter v. Nat. Res.

Def. Council, Inc., 555 U.S. 7, 20 (2008). Where the federal government is the opposing party,

the balance of equities and public interest factors merge. See Nken v. Holder, 556 U.S. 418, 435

(2009). In the past, courts in this jurisdiction have evaluated the four preliminary injunction

factors on a “sliding scale”— a particularly strong showing in one factor could outweigh

weakness in another. Sherley v. Sebelius, 644 F.3d 388, 393 (D.C. Cir. 2011). However, it is

unclear if this approach has survived the Supreme Court’s decision in Winter. See, e.g., Banks v.

Booth, 459 F. Supp. 3d 143, 149-50 (D.D.C. 2020) (citing Sherley, 644 F.3d at 393 (D.C. Cir.

2011)). Despite this uncertainty, each factor must still be present. Thus, if a party makes no

showing of irreparable injury, the court may deny the motion for injunctive relief on that basis

alone. See Save Jobs USA v. U.S. Dep’t of Homeland Sec., 105 F. Supp. 3d 108, 112 (D.D.C.

2015) (citing CityFed Fin. Corp. v. Off. of Thrift Supervision, 58 F.3d 738, 747 (D.C. Cir.

1995)).

                                         III.   ANALYSIS

   A. Likelihood of Success on the Merits

             1. Executive Privilege

          This case presents the first instance since enactment of the PRA in which a former

President asserts executive privilege over records for which the sitting President has refused to

assert executive privilege. Plaintiff argues that at least some of the requested records reflect his

decision-making and deliberations, as well as the decision-making of executive officials

generally, and that those records should remain confidential. Specifically, Plaintiff claims such


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records fall within two constitutionally recognized categories of executive privilege—the

presidential communications privilege and deliberative process privilege—and that he can

prevent their disclosure. He argues that his power to do so extends beyond his tenure in Office,

in perpetuity, and that his assertion of privilege is binding on the current executive branch.

Plaintiff also argues that to the extent the PRA constrains his ability to assert executive privilege,

the Act is unconstitutional. In the alternative, he contends that when a former President and

current President disagree about whether to assert privilege, a court must examine each disputed

document and decide whether it is privileged.

       Defendants acknowledge that executive privilege may extend beyond a President’s tenure

in office, but they emphasize that the privilege exists to protect the executive branch, not an

individual. Therefore, they argue, the incumbent President—not a former President—is best

positioned to evaluate the long-term interests of the executive branch and to balance the benefits

of disclosure against any effect on the on the ability of future executive branch advisors to

provide full and frank advice. The court agrees.

              i.   The Executive Power and the Origins of Executive Privilege

       The Constitution vests all “executive Power” in the President, who “must ‘take Care that

the Laws be faithfully executed.’” Seila Law LLC v. Consumer Fin. Prot. Bureau, 140 S. Ct.

2183, 2191 (2020) (quoting U.S. Const. art. II, § 1, cl. 1 & § 3)). Only the “incumbent is

charged with performance of the executive duty under the Constitution.” Nixon v. GSA, 433 U.S.

at 448. It is the incumbent President who is best situated to protect executive branch interests;

the incumbent has “the information and attendant duty of executing the laws in the light of

current facts and circumstances.” Dellums v. Powell, 561 F.2d 242, 247 (D.C. Cir. 1977). And


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only the incumbent remains subject to “political checks against . . . abuse” of that power. Nixon

v. GSA, 433 U.S. at 448.

       The Constitution does not expressly define a President’s right to confidential

communications. The executive privilege “derives from the supremacy of the Executive Branch

within its assigned area of constitutional responsibility.” Id. at 447. Indeed, as far back as

George Washington’s presidency, it has been established that Presidents may “exercise a

discretion” over disclosures to Congress, “communicat[ing] such papers as the public good

would permit” and “refus[ing]” the rest. Trump v. Mazars USA, LLP (Mazars), 140 S. Ct. 2019,

2029-30 (2020) (quoting 1 Writings of Thomas Jefferson 189-90 (P. Ford ed. 1892)). The notion

of executive privilege is “inextricably rooted in the separation of powers under the Constitution,”

and is meant to protect the President’s ability to have full and unfettered discussions with

advisors, liberated by the veil of confidentiality. United States v. Nixon, 418 U.S. 683, 708

(1974). The privilege “belongs to the Government and must be asserted by it: it can neither be

claimed nor waived by a private party.” United States v. Reynolds, 345 U.S. 1, 7 (1953).

       Presidential conversations are presumptively privileged, but the privilege is not absolute.

Nixon v. GSA, 433 U.S. at 447. It exists for the benefit of the Republic, not any individual, and

accordingly, the presumption can be overcome by an appropriate showing of public need by the

judicial or legislative branch. See, e.g., Nixon v. GSA, 433 U.S. at 447, 449; Nixon, 418 U.S. at

707; Senate Select Committee on Presidential Campaign Activities v. Nixon (Senate Select

Committee), 498 F.2d 725, 730 (D.C. Cir. 1974).




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                      a) Senate Select Committee

       In 1973, a special committee of the Senate was formed to investigate “illegal, improper or

unethical activities” occurring in connection with then-President Nixon’s presidential campaign

and election of 1972. Senate Select Comm., 498 F.2d at 726. The committee issued a subpoena

to Nixon for tape recordings of his conversations with White House Counsel; in response, Nixon

invoked executive privilege. See id. at 727. The D.C. Circuit noted that presidential

conversations are presumptively privileged, and that the “presumption can be overcome only by

an appropriate showing of public need.” Id. at 730. Weighing these two principles, the court

held that the committee had not overcome the presumption of privilege because it had not shown

that the tapes were “demonstrably critical” to its investigation. Id. at 731. The court explained

that because the House Committee on the Judiciary already had access to copies of the tapes, the

special committee’s stated interest was “merely cumulative” and not sufficient to overcome the

presumption favoring confidentiality. Id. at 732.

             ii.   Former President’s Ability to Assert Privilege

                      a) Nixon v. GSA

       In 1974, shortly after he resigned from office, former President Nixon indicated that he

intended to destroy tape recordings he made during his presidency. See Nixon v. GSA, 433 U.S.

at 432. The legislative and executive branches, recognizing the public interest in such materials,

intervened. Congress enacted, and President Ford signed, the PRMPA, to give custody of

Nixon’s records to the National Archives and to prohibit the destruction of the tapes or any other

presidential materials. See H.R. Rep. No. 95-1487 at 5 (1978). Nixon sued, arguing that the

PRMPA violated the separation of powers, presidential privilege, and several personal rights.


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Nixon v. GSA, 433 U.S. at 439-55. The Supreme Court rejected each of his arguments, holding

that the PRMPA was constitutional on its face. As to the separation of powers, the Court noted

that the “Executive Branch became a party to the Act’s regulation when President Ford signed

the Act into law, and the administration of President Carter . . . vigorously supports . . .

sustaining its constitutionality.” Id. at 441. The Court further explained that “in determining

whether the Act disrupts the proper balance between the coordinate branches, the proper inquiry

focuses on the extent to which it prevents the Executive Branch from accomplishing its

constitutionally assigned functions.” Id. at 443 (citing Nixon, 418 U.S. at 711-12).

       The Supreme Court also examined whether Nixon could assert privilege over his

presidential records and prevent their disclosure to the Archivist. It found, as a threshold matter,

that the privilege survives the end of a President’s tenure in office. Id. at 449. The Court

explained that the basis for the privilege—to allow the President and his advisors the assurance

of confidentiality in order to have full and frank discussions—“cannot be measured by the few

months or years between the submission of the information and the end of the President’s

tenure.” Id. It concluded that the privilege exists for the benefit of the Republic and is not tied

to any one individual, and therefore survives the end of a President’s term. Id.

       But the Court also found that “to the extent that the privilege serves as a shield for

executive officials against burdensome requests for information which might interfere with the

proper performance of their duties, . . . a former President is in less need of it than an

incumbent.” Id. at 448. Consequently, the fact that neither former President Ford nor then-

President Carter supported Nixon’s contention that the PRMPA undermined the presidential

communications privilege “detract[ed] from the weight” of Nixon’s argument. Id. at 449. The


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Court found that while the privilege may extend beyond the term of any one President, “the

incumbent President is . . . vitally concerned with and in the best position to assess the present

and future needs of the executive branch, and to support invocation of the privilege accordingly.”

Id.

       The Court further held that Nixon’s claim of privilege was outweighed by Congress’

intent in enacting the PRMPA, noting that Congress had “substantial public interests” in enacting

the statue, including Congress’ “need to understand how [the] political processes [leading to

former President Nixon’s resignation] had in fact operated in order to gauge the necessity for

remedial legislation.” Id. at 453. The Court also observed that the “expectation of the

confidentiality of executive communications . . . has always been limited and subject to erosion

over time after an administration leaves office.” Id. at 451.

                        b) The Presidential Records Act

       In the aftermath of Nixon v. GSA, Congress and the Executive established a framework

under which a former President can assert privilege over Presidential records. As explained

above, the Act permits an outgoing President to shield certain Presidential records for up to

twelve years, with an exception for records that a House or Senate committee or subcommittee

needs “for the conduct of its business and that is not otherwise available.” 44 U.S.C. §

2205(2)(C).

              iii.   President Biden’s Privilege Determination Outweighs that of Plaintiff

       At bottom, this is a dispute between a former and incumbent President. And the Supreme

Court has already made clear that in such circumstances, the incumbent’s view is accorded

greater weight. This principle is grounded in “the fact that the privilege is seen as inhering in the


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institution of the Presidency, and not in the President personally.” Dellums, 561 F.2d at 247 n.14

(citing Nixon v. Adm’r of Gen. Servs., 408 F. Supp. 321, 343 (D.D.C. 1976), aff’d, 433 U.S. 425

(1977)). Only “the incumbent is charged with performance of the executive duty under the

Constitution.” Nixon v. GSA, 433 U.S. at 448. And it is the incumbent who is “in the best

position to assess the present and future needs of the Executive Branch, and to support

invocation of the privilege accordingly.” Id. at 449.

       Plaintiff does not acknowledge the deference owed to the incumbent President’s

judgment. His position that he may override the express will of the executive branch appears to

be premised on the notion that his executive power “exists in perpetuity.” Hearing Tr. at 19:21-

22. But Presidents are not kings, and Plaintiff is not President. He retains the right to assert that

his records are privileged, but the incumbent President “is not constitutionally obliged to honor”

that assertion. Public Citizen v. Burke, 843 F.2d 1473, 1479 (D.C. Cir. 1988). 4 That is because



4
  Plaintiff also retains the right to assert his own personal “rights or privileges,” if any. 44
U.S.C. § 2204; see also Nixon v. GSA, 433 U.S. at 455-83 (analyzing former President Nixon’s
assertion of personal rights, including privacy and First Amendment associational rights).
Plaintiff, however, does not do so here. He makes conclusory assertions of attorney-client
privilege and attorney work product, but he appears to do so as a species of executive privilege.
See, e.g., Pl.’s Mot. at 3 (referring indiscriminately to “various privileges,” including
“conversations with (or about) foreign leaders, attorney work product, the most sensitive national
security secrets, along with a litany of privileged communications among a pool of potentially
hundreds of people”); id. at 5 (referring without elaboration to “executive privilege and attorney-
client privilege”); id. at 30 (referring to deliberative process privilege and attorney-client
privilege in the same discussion relating to “the President”).

In any event, Plaintiff does not elaborate on these claims with sufficient detail for this court to
assess them, nor would any such claim be convincing, because the records maintained by the
Archivist, by definition, only include those records reflecting the “activities, deliberations,
decisions, and policies” of the Presidency, 44 U.S.C. § 2203(a), and not private communications.
Plaintiff offers no evidence that the records contain anything of a personal nature; in fact, he
concedes that the responsive records do not involve private conversations between him and a
personal attorney. See Hearing Tr. at 60:21-61:6. The court need not credit Plaintiff’s concern
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Plaintiff is no longer situated to protect executive branch interests with “the information and

attendant duty of executing the laws in the light of current facts and circumstances.” Dellums,

561 F.2d at 247. And he no longer remains subject to political checks against potential abuse of

that power. Nixon v. GSA, 433 U.S. at 448.

       Moreover, contrary to Plaintiff’s assertion that President Biden’s decision not to invoke

executive privilege is “unprecedented,” Pl. Mot. at 2, history is replete with examples of past

Presidents declining to assert the privilege. From President Nixon permitting the unrestricted

congressional testimony of present and former White House staff members, 5 to President Ronald

Reagan’s decision to authorize testimony and the production of documents related to the Iran-

Contra affair, including information about his communications and decision-making process, 6 to

President George W. Bush’s decision to sit for an interview with the 9/11 Commission to answer

questions about his decision-making process in the wake of the attack, 7 past Presidents have

balanced the executive branch’s interest in maintaining confidential communications against the

public’s interest in the requested information. The Supreme Court noted that this tradition of




in the abstract. See Barenblatt v. United States, 360 U.S. 109, 112 (1959) (the congressional
“power [of inquiry] and the right of resistance to it are to be judged in the concrete, not on the
basis of abstractions.”).
5
 See Letter Responding to the Senate Select Committee on Presidential Campaign Activities
Request for Presidential Testimony and Access to Presidential Papers (July 7, 1973), Pub.
Papers of Pres. Richard Nixon 636, 637 (1973).
6
 See Report of the Congressional Committees Investigating the Iran-Contra Affair, H.R. Rep.
No. 100-433, S. Rep. No. 100-216, at xvi (1987).
7
  See Philip Shenon & David E. Sanger, Bush and Cheney Tell 9/11 Panel of ’01 Warnings, N.Y.
TIMES, Apr. 30, 2004, at A1, https://www.nytimes.com/2004/04/30/us/threats-responses-
investigation-bush-cheney-tell-9-11-panel-01-warnings.html.
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negotiation and compromise between the legislative and executive branches extends back to the

administrations of Washington and Jefferson. See Mazars, 140 S. Ct. at 2029-31. President

Biden’s decision not to assert executive privilege because “Congress has a compelling need in

service of its legislative functions to understand the circumstances” surrounding the events of

January 6, see Pl. Mot., Exs. 4, 6, is consistent with historical practice and his constitutional

power.

         Plaintiff appears to view the dispute as resulting in some sort of equipoise, and asks the

court to act as a tiebreaker, reviewing each disputed record in camera. The court, however, is

not best situated to determine executive branch interests, and declines to intrude upon the

executive function in this manner. It must presume that the incumbent is best suited to make

those decisions on behalf of the executive branch. See Nixon v. GSA, 433 U.S. at 449. As the

Supreme Court noted in Mazars, decisions about whether to accommodate congressional

requests for information are best “hashed out in the ‘hurly-burly, the give-and-take of the

political process between the legislative and the executive.’” Mazars, 140 S. Ct. at 2029

(quoting Hearings on S. 2170 et al. before the Subcommittee on Intergovernmental Relations of

the Senate Committee on Government Operations, 94th Cong., 1st Sess., 87 (1975) (A. Scalia,

Assistant Attorney General, Office of Legal Counsel). When the legislative and executive

branches agree that the nation’s interest is best served by a disclosure to Congress, as they do

here, then the court has a “duty of care to ensure that [it] does not needlessly disturb ‘the

compromises and working arrangements that [those] branches . . . themselves have reached.”

Mazars, 140 S. Ct. at 2031 (quoting NLRB v. Noel Canning, 573 U.S. 513, 524-26 (2014)).

Plaintiff has pointed to no legal authority mandating a different outcome.


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       The court therefore holds that Plaintiff’s assertion of privilege is outweighed by President

Biden’s decision not to uphold the privilege, and the court will not second guess that decision by

undertaking a document-by-document review that would require it to engage in a function

reserved squarely for the Executive.

             iv.   Plaintiff’s Constitutional Challenge to the Presidential Records Act

       Plaintiff’s argument that the PRA strips him of his constitutional rights is unavailing.

The Act establishes a framework under which a former President may assert executive privilege,

subject to the incumbent’s decision on whether to uphold the privilege, which is consistent with

the constitutional principle explained by the Court in Nixon v. GSA. Compare Nixon v. GSA, 433

U.S. at 449 (explaining that the incumbent President is best positioned “to assess the present and

future needs of the Executive Branch, and to support invocation of the privilege accordingly”),

with 44 U.S.C. § 2208(c)(1) (establishing that when a former President makes a privilege

assertion, the Archivist shall then “determine whether the incumbent President will uphold the

claim asserted by the former President”). And because the PRA applies only to “Presidential

records,” defined as records reflecting “the activities, deliberations, decisions, and policies” of

the Presidency, Plaintiff’s personal records, such as those reflecting conversations with a

personal attorney or campaign staff, would not be subject to preservation or disclosure by the

PRA. 44 U.S.C. § 2203(a); see also Hearing Tr. at 57:1-13 (counsel for NARA explaining that

records relating to the president’s own election, campaign activity, or strictly personal matters

are not “Presidential records” and are thus sorted out during an accommodation process).

Accordingly, the concerns at issue in Mazars, that Congress may attempt “to harass” the

President about matters of a personal nature, are plainly not present here, where the records to be


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produced are confined to Plaintiff’s activities, deliberations, and decision making in his capacity

as President. Mazars, 140 S. Ct. at 2034.

        Nor does the Act disrupt the balance between the branches of government. “Congress

and the President have an ongoing institutional relationship as the ‘opposite and rival’ political

branches.” Mazars, 140 S. Ct. at 2033 (quoting THE FEDERALIST NO. 51, at 349 (James

Madison)). It is assumed that these two branches, guided by ambition, will act in furtherance

and preservation of their own constitutional power, helping to ensure a balance of power

between them. See THE FEDERALIST NO. 51, at 349. The executive branch became a party to the

PRA’s regulations over forty years ago when President Carter signed the Act into law. As

President Carter said at the time, the PRA was enacted to “make the Presidency a more open

institution,” and to “ensure that Presidential papers remain public property after the expiration of

a President’s term.” Presidential Statement on Signing the Presidential Records Act of 1978, 14

Weekly Comp. Pres. Doc. 39, 1965 (Nov. 6, 1978). President Carter’s decision to sign the Act

into law, and each subsequent President’s—including Plaintiff’s—acquiescence to its

framework, demonstrates that the PRA does not prevent the executive branch from

accomplishing its constitutionally assigned functions. Each “branch of Government has the duty

initially to interpret the Constitution for itself, and that interpretation of its powers is due great

respect from the other branches.” Nixon v. GSA, 433 U.S. at 442-43 (citing Nixon, 418 U.S. at

708). Cf. Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 635-637 (1952) (Jackson, J.,

concurring) (“When the President acts pursuant to an express or implied authorization of

Congress, his authority is at its maximum, for it includes all that he possesses in his own right

plus all that Congress can delegate. . . . If his act is held unconstitutional under these


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circumstances, it usually means that the Federal Government as an undivided whole lacks

power.”) (footnote omitted). And finally, by interpreting the PRA’s framework as consistent

with Nixon v. GSA’s constitutional principle, the court adheres to the canon of constitutional

avoidance. See Close v. Glenwood Cemetery, 107 U.S. 466, 475 (1883) (“Every legislative act is

to be presumed to be a constitutional exercise of legislative power until the contrary is clearly

established.”).

       Applying these principles, the court rejects Plaintiff’s constitutional challenge to the

PRA.

           1. Congress’ Power to Request Presidential Records

       Plaintiff argues that the Select Committee has ventured beyond its constitutionally

allotted “legislative Powers” by requesting records that are unrelated to the events of January 6,

and by failing to articulate any valid legislative purpose that could be served by its requests. See

Pl. Mot. at 15-19. He further argues that the court must scrutinize the Select Committee’s

requests either by using the D.C. Circuit’s balancing test in Senate Select Committee, 498 F.2d

725 (D.C. Cir. 1974), or the four-factor evaluation articulated by the Supreme Court in Trump v.

Mazars, 140 S. Ct. 2019 (2020), and that the Committee’s requests, having no valid legislative

purpose, cannot survive such scrutiny.

       Defendants counter that the Select Committee’s legislative purpose is legitimate and

compelling. Specifically, they contend that the Select Committee is investigating the facts,

circumstances, and causes of the events of January 6, 2021, and that the requests are intended to

support remedial legislation. See ECF No. 19, Comm. Br. at 18-22; NARA Br. at 15-27.




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Defendants also maintain that neither the Senate Select Committee balancing test nor the four-

factor Mazars test apply.

              i.   Legislative Powers

       Article I of the Constitution grants Congress all “legislative Powers,” U.S. Const. art. I, §

1, encompassed in which is the power to secure “needed information.” McGrain v. Daugherty,

273 U.S. 135, 161 (1927). Indeed, the power to secure “needed information” is deeply rooted in

the nation’s history: “It was so regarded in the British Parliament and in the colonial Legislatures

before the American Revolution, and a like view has prevailed and been carried into effect in

both houses of Congress and in most of the state Legislatures.” Id. While the powers of the

British Parliament and Congress are clearly not the same, there is “no doubt as to the power of

Congress, by itself or through its committees, to investigate matters and conditions relating to

contemplated legislation.” Quinn v. United States, 349 U.S. 155, 160 (1955).

       That power permits “Congress to inquire into and publicize corruption, maladministration

or inefficiency in agencies of the Government.” Watkins v. United States, 354 U.S. 178, 200

n.33 (1957). “From the earliest times in its history, the Congress has assiduously performed an

‘informing function’ of this nature.” Id. (citing James M. Landis, Constitutional Limitations on

the Congressional Power of Investigation, 40 HARV. L. REV. 153, 168–194 (1926)). In the

words of one former President—words later adopted by the Supreme Court:

       It is the proper duty of a representative body to look diligently into every affair of
       government and to talk much about what it sees. It is meant to be the eyes and the
       voice, and to embody the wisdom and will of its constituents. Unless Congress have
       and use every means of acquainting itself with the acts and the disposition of the
       administrative agents of the government, the country must be helpless to learn how
       it is being served; and unless Congress both scrutinize these things and sift them by
       every form of discussion, the country must remain in embarrassing, crippling
       ignorance of the very affairs which it is most important that it should understand

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       and direct. The informing function of Congress should be preferred even to its
       legislative function.

United States v. Rumely, 345 U.S. 41, 43 (1953) (quoting Woodrow Wilson, Congressional

Government: A Study in American Politics, 303 (1913)). Thus, the “power of inquiry—with

process to enforce it—is an essential and appropriate auxiliary to the legislative function.”

Mazars, 140 S. Ct. at 2031 (quoting McGrain, 273 U.S. at 161). It is a “critical responsibility

uniquely granted to Congress under Article I.” Trump v. Comm. on Oversight and Reform, 380

F. Supp. 3d 76, 91 (D.D.C. 2019). To ensure that Congress is able to properly carry out that

critical responsibility, its power to obtain information is necessarily “‘broad’ and

‘indispensable.’” Mazars, 140 S. Ct. at 2031 (quoting Watkins, 354 U.S. at 187). It

“encompasses inquiries into the administration of existing laws, studies of proposed laws, and

‘surveys of defects in our social, economic or political system for the purpose of enabling the

Congress to remedy them.’” Id. In short, “[t]he scope of the power of inquiry . . . is as

penetrating and far-reaching as the potential power to enact and appropriate under the

Constitution.” Barenblatt, 360 U.S. at 111.

       Congress’ power to obtain information, however, is not without limit. A congressional

subpoena “must serve a valid legislative purpose; it must concern a subject on which legislation

could be had.” Mazars, 140 S. Ct. at 2031 (cleaned up). Consequently, a congressional request

for information that extends “to an area in which Congress is forbidden to legislate,” is out of

bounds. For example, “Congress may not use subpoenas to try someone before a committee for

any crime or wrongdoing,” because “such powers are assigned under our Constitution to the

Executive and Judiciary.” Id. (cleaned up). Nor is there a “congressional power to expose for

the sake of exposure.” Watkins, 354 U.S. at 200. “Investigations conducted solely for the

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personal aggrandizement of the investigators or to ‘punish’ those investigated are indefensible.”

Id. at 187. On the other hand, an inquiry is not illegitimate simply because it calls for

information that is private or confidential, might be embarrassing, or could have law

enforcement implications. See, e.g., id. at 198; Townsend v. United States, 95 F.2d 352, 361

(D.C. Cir. 1938) (the fact that a congressional inquiry might seem “incompetent, irrelevant,”

“embarrass[ing],” or even “impertinent” is generally immaterial).

       When a court is asked to decide whether Congress has used its investigative power

improperly, its analysis must be highly deferential to the legislative branch. Courts “are bound

to presume that the action of the legislative body was with a legitimate object, if it is capable of

being so construed.” McGrain, 273 U.S. at 178. See also Barry v. U.S. ex rel. Cunningham, 279

U.S. 597, 619 (1929) (holding that “the proceedings of the houses of Congress, when acting

upon matters within their constitutional authority” are entitled to a “presumption in favor of

regularity”). Moreover, the Supreme Court has repeatedly held that courts may not “test[ ] the

motives of committee members” to negate an otherwise facially valid legislative purpose.

Watkins, 354 U.S. at 200; see also Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 508

(1975) (“Our cases make clear that in determining the legitimacy of a congressional act we do

not look to the motives alleged to have prompted it.”). Accordingly, it is not this court’s role to

decide whether Congress is motivated to aid legislation or exact political retribution; rather, the

key factor is whether there is some discernable legislative purpose. See Watkins, 354 U.S. at

200.




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             ii.   The Select Committee’s Requests Serve a Valid Legislative Purpose

       The Supreme Court considers congressional resolutions a primary source from which to

determine whether information “was sought . . . in aid of the legislative function.” McGrain, 273

U.S. at 176; see also Shelton v. United States, 404 F.2d 1292, 1297 (D.C. Cir. 1968) (observing

that relevant sources of evidence to “ascertain whether [an inquiry] is within the broad

investigative authority of Congress” include “the resolution authorizing the inquiry”).

Accordingly, the court begins its inquiry with the resolution stating the Select Committee’s

intended purpose. H.R. 503, which established the Select Committee and the subject matter

within its purview, outlines several purposes and functions of the Select Committee, including:

       •   Obtaining information and reporting on (1) “the facts, circumstances, and causes
           relating to” the January 6 attack and “the interference with the peaceful transfer of
           power”; (2) the “activities of intelligence agencies, law enforcement agencies, and the
           Armed Forces, . . . with respect to intelligence collection, analysis, and dissemination”
           surrounding the attack; and (3) the “influencing factors that contributed to the” attack,
           including how “online platforms, financing, and . . . campaigns may have factored into
           [its] motivation, organization, and execution,” id. §§ 3, 4(a)(1);

       •   Identifying, reviewing, and evaluating “the causes of and the lessons learned from the”
           January 6 attack, including as to “the command, control, and communications of” law
           enforcement and the coordination and planning of the Federal Government, id. §
           4(a)(2); and

       •   Issuing “a final report to the House” with “recommendations for . . . changes in law,
           policy, [or] procedures . . . that could be taken[ ] to prevent future acts of violence,
           domestic terrorism, and domestic violent extremism, including acts targeted at
           American democratic institutions” . . . and “strengthen the security and resilience of”
           American democratic institutions, id. § 4(a)(3), (c).

       Defendants argue that, as set forth in H.R. 503, the Select Committee’s August 25

requests are in furtherance of an effort to understand the facts and circumstances that led to the

events of January 6, inform its final report, and make recommendations for legislative changes.

The Committee Defendants contend that they have questions and concerns about election

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integrity, coordination of law enforcement, use of executive resources to pressure Department of

Justice and state officials regarding the election outcome, and building safety, and that their

investigation into these areas for legislative purposes is legitimate. See id.

       Plaintiff concedes that the statements in H.R. 503 concerning “safety and election

integrity are topics on which legislation theoretically ‘could be had.’” Pl. Mot. at 19. He argues

however, that the Committee does not “explain with any specificity how this information will in

fact assist the Committee in evaluating the proposed legislation” and that the requested

information is not “reasonably related” to its investigation. Id. at 17, 19.

       Plaintiff contends that the Select Committee “fails to identify a single piece of legislation

[] the Committee is considering.” This claim is a straw man. Congress need not (and usually

does not) identify specific legislation within the context of a request for documents or testimony,

nor must it do so when establishing a select committee or when that committee requests

documents. For instance, the Supreme Court has upheld the validity of a select committee

subpoena even though the Senate’s “resolution directing the investigation d[id] not in terms

avow that it is intended to be in aid of legislation.” McGrain, 273 U.S. at 177; see also In re

Chapman, 166 U.S. 661, 669-70 (1897) (“[I]t was certainly not necessary that the resolutions

should declare in advance what the [S]enate meditated doing when the investigation was

concluded.”). The Court found the subpoena valid because the investigation’s subject “was one

on which legislation could be had and would be materially aided by the information which the

investigation was calculated to elicit.” McGrain, 273 U.S. at 177 (emphasis added).

       The court has no difficulty discerning multiple subjects on which legislation “could be

had” from the Select Committee’s requests. Id. at 177. Some examples include enacting or


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amending criminal laws to deter and punish violent conduct targeted at the institutions of

democracy, enacting measures for future executive enforcement of Section 3 of the Fourteenth

Amendment against any Member of Congress or Officer of the United States who engaged in

“insurrection or rebellion,” or gave “aid or comfort to the enemies thereof,” U.S. Const. amend.

XIV, § 3, imposing structural reforms on executive branch agencies to prevent their abuse for

antidemocratic ends, amending the Electoral Count Act, and reallocating resources and

modifying processes for intelligence sharing by federal agencies charged with detecting, and

interdicting, foreign and domestic threats to the security and integrity of our electoral processes.

See Comm. Br. at 20; NARA Br. at 18; ECF No. 25, Amicus Br. by Former Members of

Congress at 7. These are just a few examples of potential reforms that Congress might, as a

result of the Select Committee’s work, conclude are necessary or appropriate to securing

democratic processes, deterring violent extremism, protecting fair elections, and ensuring the

peaceful transition of power. Of course, other forms of legislation not currently imagined may

also follow. The critical fact is that Congress reasonably might consider the requested records in

deciding whether to legislate in a host of legitimate areas.

       To be sure, the Committee has cast a wide net. While some of the requests pertain to

Plaintiff’s communications and actions, the former Vice President, and other former executive

officials on January 6, 2021, other requests more broadly seek information regarding events

leading up to January 6, including communications concerning the election, conversations

between Plaintiff and Department of Justice and state government officials regarding Plaintiff’s

allegations that the election was “rigged,” records relating to the recruitment, planning, and

preparation for rallies leading up to and including January 6, and conversations regarding the


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process for transferring power to the incumbent. For example, one of the Committee’s requests

is for all documents and communications from April 1, 2020, through January 20, 2021, related

to the 2020 presidential election, including forecasting, polling, or results, which were authored

or presented by, or relate in any way to one of five specific individuals who the Committee

presumably believes were involved in strategies to delay, halt, or otherwise impede the electoral

count. Pl. Mot., Ex. 1 at 5. Another similarly broad request seeks all documents and

communications concerning the 2020 election and relating to any of one of forty named

individuals who the Committee presumably believes participated in the recruitment, planning,

and preparations for rallies on days leading up to and including January 6. Id. at 7-8.

       While broad, these requests, and each of the other requests made by the Committee, do

not exceed the Committee’s legislative powers. Three facts undergird this conclusion.

       First, the court again notes that the Committee’s requests pertain only to “Presidential

records,” which by statute are limited to records reflecting “the activities, deliberations,

decisions, and policies” of the Presidency. 44 U.S.C. § 2203(a). Accordingly, there is a natural,

statutory limit on the types of records that will ultimately be maintained in the Archives and

produced to the Select Committee in response to its requests. For example, although the Select

Committee has requested certain records, such as polling data, concerning the 2020 election

dating back to April 2020, those records, by their very nature, are not Presidential records under

the statute, and would not be included in any responsive document tranches sent to the

Committee. The same goes for any personal papers or communications.

       Second, while some of the Select Committee’s requests are indeed broad, so too is

Congress’ power to obtain information. See Watkins, 354 U.S. at 187. The Select Committee


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appears to be operating under the theory that January 6 did not take place in a vacuum, and

instead was the result of a months-long groundswell. See Hearing Tr. at 41:4-7; 42:22-23.

Defendants argue that to identify effective reforms, Congress must first understand the

circumstances leading up to January 6 and how the actions of Plaintiff, his advisors, and other

government officials contributed or responded to that groundswell. NARA Br. at 18. The court

notes that the Select Committee reasonably could find it necessary to investigate the extent to

which the January 6 attack on the Capitol may have been an outgrowth of a sustained effort to

overturn the 2020 election results, involving individuals both in and outside government. But the

“very nature of the investigative function—like any research—is that it takes the searchers up

some ‘blind alleys’ and into nonproductive enterprises. To be a valid legislative inquiry there

need be no predictable end result.” Eastland, 421 U.S. at 509. In fact, the Committee need not

enact any legislation at all. Trump v. Mazars USA, LLP, 940 F.3d 710, 727 (D.C. Cir. 2019)

(explaining that the “House is under no obligation to enact legislation after every investigation”).

Nor is it problematic that some requests might ultimately return records that are “irrelevant,” or

“impertinent” to its stated goals. Townsend, 95 F.2d at 361. It is not for this court to decide

whether the Select Committee’s objective is prudent or their motives pure. See Watkins, 354

U.S. at 200; Eastland, 421 U.S. at 508. Instead, the pertinent question is whether Congress could

legitimately legislate in these areas, and, as explained above, it can.

       Third, President Biden’s decision not to assert the privilege alleviates any remaining

concern that the requests are overly broad. In cases such as Mazars, which involved separation

of powers concerns, limitations on the breadth of a congressional inquiries serve as “important

safeguards against unnecessary intrusion into the operation of the Office of the President.”


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Mazars, 140 S. Ct. at 2036. Plaintiff argues that the requests at issue here are burdensome

because they are “unbelievably broad” and that their breadth is “striking” because they could “be

read to include every single e-mail sent in the White House” on January 6. See Pl. Mot. at 21-24.

But upon whom is the burden imposed? President Biden has determined that the requests are not

so intrusive or burdensome on the Office of the President as to outweigh Congress’ “compelling

need in service of its legislative functions.” Pl. Mot., Ex. 4 at 1-2. Unlike the circumstances

presented in Mazars, here, the legislative and executive branches are in harmony and agree that

the requests are not unduly intrusive, thus extinguishing any lingering concerns about the breadth

of the requests.

               iii.   The Alternative Mazars Standard Results in the Same Outcome

       Plaintiff urges the court to apply either the balancing test from Senate Select Committee,

498 F.2d 725 (1974), or the four-factor standard from Trump v. Mazars, 140 S. Ct. 2019 (2020).

In the alternative, Plaintiff argues that the court could apply a “Mazars lite” test by applying the

four Mazars factors, but using “reduced judicial scrutiny,” “cognizant of the fact that this case

now involves a subpoena directed at a former President.” Trump v. Mazars, USA, LLP, No. 19-

cv-01136, 2021 WL 3602683, at *13 (D.D.C. Aug. 11, 2021), appeal pending, No. 21-5176

(D.C. Cir.).

       Defendants argue that neither the Senate Select Committee or Mazars standards apply

because both cases involved Congressional requests for information from a sitting President, and

therefore presented separation of powers concerns arising from a “clash between rival branches

of government.” Mazars, 140 S. Ct. at 2034. Defendants contend that the “Mazars lite”

approach is inappropriate because, unlike the situation when Mazars was decided on remand,


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“the executive branch has agreed to provide the requested documents under the PRA, and

compulsory process is not at issue.” NARA Br. at 23.

       The court agrees that the stringent balancing test of Senate Select Committee does not

apply because, for reasons already stated, the requested records are not privileged. Indeed, at

oral argument, Plaintiff’s counsel did not mention this test and instead asserted only that the

Mazars four-factor test is appropriate. See Hearing Tr. at 8:12-16. The court also agrees with

Defendants that Plaintiff’s status as a former President, and the fact that the legislative and

executive branches agree that the records should be produced, reduces the import of the Mazars

test. Each of Plaintiff’s arguments about why Mazars is applicable assumes separation of

powers concerns that have little, if any, force here. Nonetheless, because this is a matter of first

impression, the court will apply the four Mazars factors, conscious of the fact that Plaintiff is a

former President.

       Under the first Mazars factor, “the asserted legislative purpose” must warrant “the

significant step of involving the President and his papers.” Id. at 2035. “Congress may not rely

on the President’s information if other sources could reasonably provide” the information

Congress needs in light of its legislative objective. Id. at 2035–36. The court starts with the

obvious: the concerns raised by the “significant step” in Mazars are plainly not present here,

where Plaintiff is no longer President, and the incumbent President has decided that Congress’

legislative purpose warrants production. See Pl. Mot., Ex. 4. Moreover, the Select Committee

has demonstrated that its asserted legislative purpose is indeed significant. It seeks to learn about

what, if anything, Plaintiff, his advisors, other government officials, and those close to him knew

about efforts to obfuscate or reverse the results of the 2020 election, recruitment, planning, and


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coordination of the January 6 rally, the likelihood of the protest turning violent, and what actions

they took in response. See Pl. Mot., Ex. 1. Plaintiff has not identified any source from which the

Select Committee could gain answers to these questions other than the Presidential records they

seek. See Pl. Mot. at 19 (offering only the conclusory statement that the Select Committee

“could obtain any and all of the information it seeks” from non-privileged sources); Hearing Tr.

at 16:10-13 (suggesting without evidence or explanation that non-privilege documents should be

sufficient). Accordingly, the Select Committee clears the first hurdle.

       Second, under Mazars, the congressional inquiry should be “no broader than reasonably

necessary to support Congress’ legislative objective.” Id. This limitation is necessary, the Court

explained, to “safeguard against unnecessary intrusion into the operation of the Office of the

President.” Id. (cleaned up); see also Nixon v. GSA, 433 U.S. at 443 (explaining that “the proper

inquiry” for courts is to consider the extent to which a congressional act “prevents the Executive

Branch from accomplishing its constitutionally assigned functions”). Here, President Biden has

not objected to any of the requests as being overly broad or unnecessarily intrusive. His counsel

has reviewed the first three tranches of responsive records and stated that President Biden

supports their production because of Congress’ compelling interest in them. See Pl. Mot., Exs. 4,

6. Plaintiff’s argument to the contrary, that the Select Committee’s “broad” requests are overly

intrusive into the operations of an office he no longer occupies, is therefore unpersuasive.

       Third, “courts should be attentive to the nature of the evidence offered by Congress to

establish that a subpoena advances a valid legislative purpose.” Mazars, 140 S. Ct. at 2036.

“[U]nless Congress adequately identifies its aims and explains why the President’s information

will advance its consideration of possible legislation,” “it is impossible to conclude that a


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subpoena is designed to advance a valid legislative purpose.” Id. The Select Committee has

adequately identified its aims and indicated why the requested records may support a valid

legislative purpose. As noted above, the Select Committee was created to investigate the facts

and circumstances of the January 6 attack, including “influencing factors that contributed to the

attack.” H.R. 503 § 4(a)(1)(B). Defendants tie this aim to the Committee’s Presidential records

requests by pointing to Plaintiff’s statements claiming the election was “rigged,” promoting the

January 6 rally, and calling on his supporters to “walk down to the Capitol” to “take back our

country,” Comm. Br. at 7, public reports regarding Plaintiff’s efforts to pressure Department of

Justice and state officials to reverse the election results, id. at 5-7, and the Committee’s findings

about the effort of Plaintiff’s former aides to stop or delay the counting of election results, H.R.

Rep. No. 117-152, at 6 (Oct. 19, 2021). The Committee could reasonably expect the requested

records to shed light on any White House planning and strategies concerning public messaging

about the election, any efforts to halt or delay the electoral count, and preparations for and

responses to the January 6 rally and attack. See Pl. Mot., Ex. 1 at 4, 7-9. Such information

would be plainly material to the Select Committee’s mandate to discover and report on “the

facts, circumstances, and causes relating to the January 6 [attack],” H.R. 503, § 3(1), and to pass

remedial legislation in any number of previously identified areas within their legislative purview.

       Fourth, courts should “assess the burdens imposed on the President by [the] subpoena”

because “[the burdens] stem from a rival political branch that has an ongoing relationship with

the President and incentives to use subpoenas for institutional advantage.” Mazars, 140 S. Ct. at

2036. Defendants satisfy this factor as well, because the “burdens imposed on the President” by

the Committee’s request are of considerably less significance when the Presidential records


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sought pertain to a former President and when the incumbent President favors the production.

Mazars, 2021 WL 3602683, at *13. Moreover, unlike the compulsory nature of the subpoena in

Mazars, here, the Select Committee made its request pursuant to a statutory framework to which

the executive branch is a party and has long acquiesced. This fact, too, undermines any notion

that the office of the President is unduly burdened by the requests.

        Having found that all four Mazars factors weigh against Plaintiff’s position, the court

concludes that the Select Committee’s requests are a valid use of legislative power and refuses to

enjoin what the legislative and executive branches agree is a vitally important endeavor.

    B. Irreparable Harm

        A party seeking preliminary injunctive relief must show an imminent threat of irreparable

harm by the challenged action or inaction. The “injury must be both certain and great, actual and

not theoretical, beyond remediation, and of such imminence that there is a clear and present need

for equitable relief to prevent irreparable harm.” Mexichem Specialty Resins, Inc. v. EPA, 787

F.3d 544, 555 (D.C. Cir. 2015) (cleaned up).

        Plaintiff fails to show that any irreparable injury is likely to occur. First, to the extent

Plaintiff argues that he, as a private citizen, will suffer injury, he has not identified any personal

interest that is threatened by the production of Presidential records. He claims no personal

interest in the records or the information they contain, and he identifies no cognizable injury to

privacy, property, or otherwise that he personally will suffer if the records are produced, much

less a harm that is “both certain and great,” id., 787 F.3d at 555, if injunctive relief is denied.

        Second, Plaintiff’s argument that the executive branch will suffer injury is similarly

unavailing. Plaintiff invokes the executive privilege protecting presidential communications,


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contending that compliance with the Select Committee’s requests “will undoubtedly cause

sustainable injury and irreparable harm” to future Presidents because releasing confidential

communications between him and his advisors concerning his duties and responsibilities as

President to a “rival branch of government” will “chill[ ] advice given by presidential aides[.]”

Pl.’s Mot. at 6-7, 36. That privilege, however, is not for the benefit of any “individual, but for

the benefit of the Republic.” Nixon v. GSA, 433 U.S. at 449. Moreover, the notion that the

contemplated disclosure will gravely undermine the functioning of the executive branch is

refuted by the incumbent President’s direction to the Archivist to produce the requested records,

and by the actions of past Presidents who similarly decided to waive executive privilege when

dealing with matters of grave public importance, such as the Watergate scandal, the Iran-Contra

affair, and 9/11. Plaintiff therefore has made no showing of imminent irreparable harm to any

interests protected by executive privilege that compels an immediate halt to compliance with the

Select Committee’s requests.

       Plaintiff also contends that an injunction is needed to protect against a risk of inadvertent

disclosure of privileged documents, allegedly due to the “short time periods” provided under the

PRA for review of potentially large volumes of records whose sensitivity may not be apparent if

their authors or custodians cannot be readily ascertained. See Pl.’s Mot. at 37. This too is not a

convincing injury. Thus far, Plaintiff’s PRA representatives have successfully reviewed the

records in the first three tranches, and Plaintiff has invoked privilege over many of them.

Moreover, NARA routinely accommodates requests from former Presidents for additional time

to complete their reviews when the volume or complexity of records requires. NARA Br., Laster

Decl. ¶ 11. NARA maintains the records in the same order and manner of organization as they


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were transmitted by the outgoing administration. Id. ¶ 6. To the extent practicable and

necessary, NARA informs the PRA representatives where the responsive records came from,

such as from a staff member’s office files. Id. And when asked, NARA also assists former

Presidents in identifying records’ authors and custodians. Id. ¶ 11. These accommodations are

sufficient to mitigate any claim by Plaintiff that he is prejudiced by the PRA statutory process.

   C. Balance of the Equities and the Public Interest

       The legislative and executive branches believe the balance of equities and public interest

are well served by the Select Committee’s inquiry. The court will not second guess the two

branches of government that have historically negotiated their own solutions to congressional

requests for presidential documents. See Mazars, 140 S. Ct. 2029-31.

       Defendants contend that discovering and coming to terms with the causes underlying the

January 6 attack is a matter of unsurpassed public importance because such information relates to

our core democratic institutions and the public’s confidence in them. NARA Br. at 41. The

court agrees. As the Supreme Court has explained, “the American people’s ability to reconstruct

and come to terms” with their history must not be “truncated by an analysis of Presidential

privilege that focuses only on the needs of the present.” Nixon v. GSA, 433 U.S. at 452-53. The

desire to restore public confidence in our political process, through information, education, and

remedial legislation, is of substantial public interest. See id.

       Plaintiff argues that the public interest favors enjoining production of the records because

the executive branch’s interests are best served by confidentiality and Defendants are not harmed

by delaying or enjoining the production. Neither argument holds water. First, the incumbent

President has already spoken to the compelling public interest in ensuring that the Select


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Committee has access to the information necessary to complete its investigation. And second,

the court will not give such short shrift to the consequences of “halt[ing] the functions of a

coordinate branch.” Eastland, 421 U.S. at 511 n.17. Binding precedent counsels that judicially

imposed delays on the conduct of legislative business are often contrary to the public interest.

See id.; see also Exxon Corp. v. F.T.C., 589 F.2d 582, 589 (D.C. Cir. 1978) (describing Eastland

as emphasizing “the necessity for courts to refrain from interfering with or delaying the

investigatory functions of Congress”).

         Accordingly, the court holds that the public interest lies in permitting—not enjoining—

the combined will of the legislative and executive branches to study the events that led to and

occurred on January 6, and to consider legislation to prevent such events from ever occurring

again.

                                      IV.     CONCLUSION

         For reasons explained above, the court will deny Plaintiff’s request to enjoin Defendants

from enforcing or complying with the Select Committee’s August 25, 2021, requests because

Plaintiff is unlikely to succeed on the merits of his claims or suffer irreparable harm, and because

a balance of the equities and public interest bear against granting his requested relief.



Date: November 9, 2021


                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge




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